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fai¢:hael W. Ccllims, St;ate Bar# 197829 l

I,aw offices of Cnll_ins & Lamore ` §
Attorneys at Law ; l
8 Whatney #lOZ '
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(949) 581~93()0; FAX# (480) 287-85()7

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lN THE `UNITED STATES I)ISTR}CT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNlA

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, ' , 386 0.1
Juan Rivela, ) SACV 13 _ 00078 RNB
ma ' rff, )
dm ‘ )COMPLAINT
)
VS- ) DEMAND FOR JURY TRIAL
, ~ , )
PPA, EN FI'I\ UNKNOWN; ) 15 United States Code § 1692 et seq
and DO€S 1 w 19, » ) and CA Civ. Code §l788 et seq;
)
Defendants )
)
)

 

 

 

Plaintifi`, JUAN RIVERA, based on information and belief and investigation of counsel,-

except for those allegations which pertain to the named Plaintiff (which are alleged on personal

knowledge), hereby makes the following allegations

I. IN'FRODU§ILQE
1. This action for actual damagos, statutory damages, attorney fees and costs is
brought by an individual consumer t`or l`)efendant’s violations of the Fair Debt Collection
Praoticcs Aot, 15 U.S.C.§ l692, et seq. (hereinafter “FDCPA”) and the Roscnthal Fair Debt
Collection Practices Act', CA Civ. Code §l 788 ct s@q. (`hereina'i`tcr “RFDCPA”) which prohibits

debt collectors from engaging in abusive, deceptive and unfair practices

COMPLAIN'I‘ ~ l

 

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» 2. According to l$ U.S.C.§ 1692:

a. There is abundant evidence of the usc of Abusive, deceptive and unfair
debt collection practices by many debt collectors Abusive debt collection practices contribute to
the number of personal bankruptcies, to Marital instability, to the loss of jobs, and to invasions of
individual privacy.

b , Existing laws and procedures for redressing these injuries are inadequate
to protect consumers

c. Means other than misrepresentation or other abusive debt collection
practices are available for the effective collection of debts

d. Abusive debt collection practices are carried on to a substantial extent in
interstate commerce and through means and instrumentalities of such commerce Even Where

abusive debt collection practices are purely intrastate in charactcr, they nevertheless directly
affect interstate commerce

e. lt is the purpose of this title to eliminate abusive debt collection practices
by debt collectors, to insure that those debt collectors who refrain from using abusive debt
collection practices are not competitively disadvantaged and to promote consistent State action
to protect consumers against debt collection abuses

H. JUR!SDICTI()N

3. lurisdiction of this Court arises under l5 U.S.C. § 1692K(d) and 28 U.S.C. §§

2201 AND 2202.
4. 'I`his action arises out of Det`endant’s violations o'f`the Fair Debt Collection

l’ract'iccs Act_. l5 U.S.C. § l692, et seq. (“FDCPA”).

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COMPLAINT ~ 2

 

 

 

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5. Vcnue in this judicial district is proper pursuant to 28 U.S.C. § lBQl(b), in

that a substantial part ot` thc events or omissions giving rise to the claim occurred in this judicial
district Vcnue is also proper in this judicial district pursuant to 15 ll.SC. § 1692k(d), in that
Plaintit`f resides in this judicial district and Det`endant transacts business in this judicial district
and some of the facts related to the violations of the FDCPA complained ot`occurred in this
judicial district
IV. INTRADISTRICT ASSIGNMEN'!`

(). 'l` his lawsuit should be assigned to the Southcrn Division of this
Court because l’laintit`t` resides in Orange County and a substantial part of the events or
omissions which gave rise to this lawsuit occurred in Orangc County.

V. PARTIES

7. Pla'intit`f, JUAN RlVERA (hereinafler “l’laintit`i"), is a natural person residing in
Huntington flcach, CA. Plaintiffis a “consumer" within the meaning of 15 U.S.C. § 1692a(3.

8. Plaintit`f is informed and believes, and thereon alleges that Det`cndant, PPA,
ENTITY UNKNOWN (hereinaiter “PPA”), is or was at all relevant times, a debt buyer aka
Davis & Associatcs and Platinurn Partners, Whose corporate status or business structure is
currently unknown to Plaintiff, engaged in the business ot` collecting debts in this state With its
principal place of business appearing to be located at: lOi Ii. Larnbcrt Road, Suite 205, l.a
Habra, CA 90631.

9. The principal business ol" PPA is the collection ot` debts using the mails and
telephonc, and PPA regularly attempts to collect debts alleged to be due another. PPA is a “debt

collector" within the meaning of 15 U.S.C. § 1692A(6).

COMPLAINT - 3

 

 

 

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l(). Does l »~ l() are additional persons or entities responsible in some way for the
harms suffered by Plaintiff as alleged laerein, and will be named by their true names upon

discover thereof

VI. IiAC’l"'UAL ALLEGATIONS
l l. Plainti'l"i`is alleged to have incurred av financial obligation, namely a consumer
debt, with PPA assignee of l‘lousehold Retail Services (hereinaiter “the alleged debt”). The

alleged debt Was incurred primarily for personal, family or household purposes and is therefore a

 

“debt” as that term is defined by 15 U.S.C. § l692a(5).

lZ. Plaintil"f` neither admits nor denies owing any o'uirent balance on the “alleged debt”,
but did enter into a retail installment agreement with l~lousehold Retail Serviees on or about
2003. Gn or about May 2005, said account was sold to a debt buying entity, name unknown The

last payment was made on this “alleged debt” on or before Deeember 2005.

13. On or about November 27, 2012, Def`endant called Plziintiil`anti`a<lvised him that
the “`alleged debt” was now $26,000 from 2003, but would settle the “alleged debt” for $l,500 it`
paid immediately Defendant, by and through their employee named “Naney”, further stated that
"you are going to court for $26K" and "when is a good time for us to come to your house and
hand you a summons?" Def`endant gave Plaintift`Z hours to resolve the debt for the settlement
offered before receiving a summons

14. Plaintil"i" was at his Doetor’s office at the time and told Del`endant he couldn't talk
right now (Plaintiffwas at his urologist getting follow-up treatment alter a recent surgery),
Plaintitl` told Defendant that he was shaking because he was so nervous and to let him call back
at a better timek Deiendant told Plainti li' that ii`he gets off the phone the i{)% offer is off the table

and he would owe the full $2()1<1. Out oi`fear l’laintii`t` paid fill 500 by way cheek by phone A true

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and accurate copy of payment transaction, referenced above, is attached hereto, marked
Exhibit”l”.

l 5 . On or about `November 30._, 2()12, Plaintiff received a release letter sent by
Det’endant. The address listed on the letter appears to reflect a physical address of “Suite H~ZIS”§
but in fact is a Post Mail Box location at a Commercial Rcceiving Agency (UPS Store). No
mention of PMB is in the address on the letter as required by postal regulations regarding use of
CMRA facilities llurtherrnore, Defendant'deceptively uses Suite within its address as prohibited
by postal regulations regarding use of CMRA facilitiesl A true and accurate copy of said letter,
referenced above, is attached hereto, marked Exhibit”Z”.

16. Up to and preceding the payment made to Del`endant on or about Novcmbcr 2'7,
2012, Plaintit`f had 3 conversations with Defendant. On one oecasion, Defendant called front a
blocked # listed as "Davis & Associates" but l’laintiff later realized it was actually Platinurn

Partners (PPA). Piaintiff was unable to determine the true source and name of whom the

collection calls were being made

l7. At all times referenced herein, when collection efforts were being made by
Defendant, the statute of limitations had been expired Since 2009 and Defendant deceptively

insinuated to Plaintii`f that legal action could and would be taken when in fact it could not

lawfully be taken

VII. CLAIMS COUNT I - FDCPA
FA!R DEBT COI_,LECTIGN I’RACTICES AC'l`
l8. Plaintii‘l`biings a claim for relief against l)efendant under the Faii' Debt Collection
Practices Act (“FDCPA”), 15 U.S.C. § l692 et seq.
19. Plaint. incorporates all paragraphs oi`Complaint as though fully set forth herein.

20. Plaintiff is a “consunier” as defined by the FI'}CPA` lS U.S.(_`?_ § l692a(3).

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21. Defendant, PPA, is a “debt collector” as that term is defined by the FDCPA, 15

U.s.c. § 1692@(6).

22. The financial obligation alleged to be owed by Plaintifi`is a “debt.” as that tenn is
defined by the FDCPA, 15 U.S.C. § 1692a(5).

23. Del`endant has violated the FDCPA, Tlie violations The violations include, but

are not limited to, the following
a. PPA threatened to tile suit on an out of statute debt when in fact

such action could not be legally taken and that was not intended to be taken in violation of 15

U.S.C. § 1692e(5) and 1692e(l0);
b. PPA falsely represented the character, amount, and legal status of

the debt by implying that the balance due was $26,000 and implying that a summons was ready

to be served and inquiring “when a good time was to serve a summons” in violation of 15 U.S.C.

§ 1692e(2)(A) and 1692e(10);
c. PPA used unfair means to collect a debt by using a deceptive and

false address in violation of 15 U.S.C. § 1692e(2)(A) and 16921"(8); and

d. PPA misrepresented the true source or nature of the collection

communications in violation of 15 U,S.C. § 1692e, 16926(10), and 16926(14);

e. PPA insisted on continued communication with Defendant at an
inconvenient time and location, While Plaintific was at his Doctor’s office, known to be

inconvenient in violation of 15 U.S.C. § 1692e, 1692€(10), and 1692c(a)(l);
24. Defendant’s acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.

25. As a result of Def`endant’s FDCPA violations, Plaintiff is entitled to an award of

statutory damages, actual damages, costs and reasonable attorneys i`ees, pursuant to lSU.S.C. §

16921<.

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COMPLAINT - 6

 

 

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Vl ll. CLAIMS C()UNT 1 ~ RFDCPA_
ROSENTHAL FA`!R DEBT C‘()LLECTION PRACTICES ACT
26. Plaintifl` rcincorporates by reference all of`the preceding paragraphs.
27. Tn the extent that Defendant’s actions, recounted above, violated the RFDCPA
CA Civil Code §1788 et al., those actions were done knowingly and willfully,
28. AS a result of Defendant’s RFDCPA vic)luticms, Plaimifl` is entitled io an award of

statutory damages, actual damages, costs and reasonable attorneys fecs, pursuant to CA Civ.

Code §1783.30.

IX. DECLARATION BY PLA!NT!FF

.“ll declare under the penalty c)f perjury and in accordance

with the lawss of the State of California that the foregoing is

true and correct.

Executed on l"§»* 15 ,, at }`)““}F‘“€:,!UM /,%¢!26[\ iCA

Plainti ffy: Juan Rivera

X. REOUEST FOR `RELlEF

Plaintit`f requests that this Court:
a) Assume Jurisdiction in this proceeding

b) Declare that Defendant violated the Fzzir Debt Collection Practices Act, 15
U.S.C. §§ lé‘)Ze(Z)A, 16921:(5`), 1692€(1()), l692e(l4), 1692c(a)(1), l692f(8),

and such other statutes that may be proven al trial;

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e) Declare that Defendant violated the Rosenthal Fair Del)t Collection
Practices Act, CA Civil Code §1788 ct al., and such other statutes that may be
proven at trial ;

d) Award I’laintill` statutory damages in an amount not exceeding $ l ,OOD for
each occurrence, pursuant to 15 UiS.C. § l692k(a)(2)(/\} and an additional
fill ,OO(} for each occurrence pursuant to CA Civil Code §l788.30(b) ;

e) szn‘cl Plaintiff actual damages in the amount of $l 500 plus further
damages as may be proven at trial;

t) Awarcl Plaintiff the costs of this action and reasonable attorneys-fees
pursuant to l5U.S.C. § 1692k(a)(3);

g) Award Plaintlft` such other and further reli'el`as may he just and proper.

Law Offices of Collin ‘ & Lamore

 

Micha vl/. Collin.s, Esq.
Att:o. ey for Plaintiff

DEMANI) FOR JURY TRIAL

» PLEASE TAKE N'O'I`lCE that Plaintifl`, .luan Rivera, hereby d an /n trial by july of>all triable

issues ol`f`act in the above-captioned case
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CGMPLAINT » 3

 

 

 

 

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Exhibit '*1"

 

 

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BREA, CA 92821-4803
TEL: 855-495-5400 FAX: 855-386-9900
- ’*Personal and Com‘idential* November 27, 2012
JUAN RlVERA

9682 BlCKLEY DR
EAST HUNT|NGT|ON BEACH, CA 92646-4147

RE: GriglnalCredltor: Household Retail$ervlces
Origlnal Account: t .. v »~ 460
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As of November 27 2012 PPA has released you from all claims §nd liabilities p` ainan to the above referenced account
Furthermore our trade lines with major credit reporting bure§u 'Vl/lll be updated accordingly

Please contact us if you have any question

Sincerely,

Amy Smlth
Accounting Department

   

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VI. CAUSE 017 ACT|ON (Citc thc 1}.S. Civil Statutc under which you nrc filing and write n brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
FDCPA 15 USC 1692
Vll. NATURE OF SU|T (Piace an X 111 one box only.)

 
   

 
 

 

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UN!TED STATES l')lS't`Rl(,"l' COURT, CENTRAL DlS'l`RlCT OF CAL!FORNIA
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Vlll(a). lDENTICAL C,\SI".S: llns this action been previously filed m this court and dismissed remanded or closcd’.' E(No 111 Y¢:s
If yes list case number(s):

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Ifyes, list ease number(s):

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(Check 1111 boxes that apply) 13 A. Arise from the some or closely related transactions, hoppenings, or events; or
1;1 B. Call t'or determination ofthc same or sttbstantinlly related or similar questions of law and fact; 01
111 C. For other reasons would entail substantial duplication of labor il'heard by dil`l`crentj\rdgcs; or
1:1 1). lnvolve the same patent, trademark or copyright, Ln_q one of the factors identitied above in 11, b or c also is prcseuL

 

1)(. V'ENUE: (When completing the following information use an additional sheet lt'nccessury.)

(n`) List the Clt)ttnty in this District; Ctalil`omit\ County outside of this l)istrict; Stnte it` other than Calil`ornia; or liorcign Country, in which EACH named plainti{frcsidcs.
111 Chcck here 11 the government its agencies or employees is 11 named plaintiff lt` this box is checked, go to item (b).

Califontio County outside ofthis District; State, it` other than Californio; or Foreign Country

 

County in this District:'
Orange

 

 

 

 

(b) List the County in this District; Calit`omin County outside of this District; St:tte it other than Cnlit`ornin; or Forcign Country, in which EACH named defendant resides.
13 Check here if the govemmcnt, its agencies or employees is r1 named defendant 11` this box is checkcd. go to itcm`(c).
Californin County outside of this Di.slrict; State, it` other than Califomia; or Foreign Country

 

County in this District:‘

 

Orange

 

 

 

 

(c) Lisl the County in this District; Californin County outside of this District; Strttc il` other than Calit“urnia; or Forcign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location ot’ the tract of land involved.
Cnlit`ornin County outside ot` this l)istn'ct: Stttte, if other than Califomia; or Foreign Country

 

County in this Distriet:”

Orange

 

 

 

 

 

* Los Angeles, Orange, San Bernardluo, Riverslde, Venmro, Sartta Bnrbnrtt, or Snn l.ul .Ohlspo Countles
Note: 111 land condemrm ion cases us the location ofthc act ot` land 'nvolved m

 

X. SlGNATURE OF A'l"l ORNEY (OR PRO I’ER): Date l //§|// 3

Notice to Counsel/l’arttes: Thc CV- 71 (JS-M) CivliCovcr She%:t;mig thc ztnlcn rigntioti i?ontninemrcin neither replace nor supplement the filing and service ol'ph:udlngs
or other papers us required by ln\v. This form, approved by the Judiciul Conl`ercncc ofthc Unitcd Stotcs' tn Scptcmbct 1974,1:1 required pursuant to l.ocnl Rulc 3- 1 is not filed
but ts used by the Clerk ot` the Court for thc purpose ofstutistics, venue and initiating the civil docket sheet (For more detailed instructions, sec scptu‘ntc instructions sheet )

Kcy to Statistica| codes relating to Social Sccurity Cases:
Nnture of Sult Cotle Ahbrevlatlon Substantlve Statement of Cnusc ol' Actlon

861 ' lllA All claims for health insurance benctits (Medieorc) under Tillc 18, Pnrt A, ot` the Social Socurity Act, as amended
Also, include claims by hospitnls. skilled nursing lacilitics, ctc., t`or certification as providers of services under the
program (42 U.S.C. 19351"1’(1)))

Ail claims l'or “Hluck 1.ung"bencl'1ts under Title 4. Porl B. 01 the Fedcral Coal Minc llcalth and Sat`ety Act ol‘ 1969.

862 HL
(301.1.5.€.923)

863 13le /\11 claims filed by insured workers t`or disuhility insurance benefits under Title 2 of the Socitti Sccnrity At:t, 115
arnemied; plus all claims tiled for chiid`s insurance benefits based on disability 1112 U.S.C. 405(g))

863 DiWW Ail claims filed for widows or widowch insurance bencl'tts based 1111 disability under Titlc 2 ol`thc Sociz\l Sr:curity
Act, as amended 142 11.3.€,405(§))

864 SSlD All claims for supplemental §ecunty income payments based upon disability tried under Title 16 ot`tltc Socinl Sccurity
A ct. as amended

865 RSl Atl claims for retirement told ngu) and survivors bcnutits under 'l"itle 2 of the Sociol Sceurity »\cL us amended (412

u.s.c:. tg»

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AU 440 (Rev. 06/12) Sunimons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Centi'al District of California

Juan Rivera,

 

Plainfij(s)
V .

PPA, ENTlTY UNKNOWN;
and Does ‘t ~ 10,

Civil Action No.

SACV 13 - 000'78 RNB

 

Di§)’?zndani(s)
SUMMONS IN A CIVlL ACTION

TOZ (Defelidant's name and address) PPA, ENTITY UNKNOWN
'10‘1 E. Lambert Road, Suite 205
La Habra, CA 90631.

A lawsuit has been filed against you.

Within 21 days afier service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a Uriited States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) - you must serve on the plaintift`an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Proeedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are:

If you fail to respoiid, judgment by default will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion Witlt the eourt. '

CLERK OF COURT

  

DEN|SE VO .'

Date: ` d l ,_ __ M_m_, .
aim lip LZDMMWWWW~NM» Signalurc’ of Clc)‘k or De 1 .

 

